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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS
                              (EASTERN DIVISION - BOSTON)

KIRA WAHLSTROM,
  Plaintiff,

-vs.-
                                                      C.A. NO. 1:22-cv-10792-RGS
DAVID J. HOEY,
LAW OFFICES OF DAVID J. HOEY, P.C.,
DON C. KEENAN,
D.C. KEENAN & ASSOCIATES, P.C. D/B/A
THE KEENAN LAW FIRM, P.C., &
KEENAN’S KIDS FOUNDATION, INC.,
  Defendants.

                  NON-PARTY WITNESS’S SECOND MOTION FOR
              LIMITED PROTECTIVE ORDER REGARDING DEPOSTION

        NOW COMES the undersigned counsel, a non-party witness, and pursuant to

Fed.Ct.R.Civ.P. Rules 26 and 45 moves for a limited protective order concerning his deposition,

noticed by the Plaintiff for March 21, 2023, concerning the Defendant’s non-notice of video

recording.

        Pursuant to L.R. 7-1(a)(2), undersigned counsel certifies that he attempted to resolve this

matter in good faith by conferring with counsel for all parties extensively, both before the

deposition, having learned of the video recording on the morning of the deposition, and

subsequently, but no agreement was reached and this motion is still necessary.



        WHEREFORE, for the above stated reasons, the undersigned NON-PARTY witness

prays that this Honorable Court order that the Defendants cannot use (or possess) the video

recording for which they gave no timely notice of.
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                                                Respectfully submitted,



                                                __________________________________
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Dated:   April 24, 2023


                                 CERTIFICATE OF SERVICE

I hereby certify that on March 2, 2023 this document was served by electronic delivery through
the CM/ECF system on the registered participants as identified on the Notice of Electronic
Filing, which will forward copies to Counsel of Record.


                                                /s/ Krzysztof G. Sobczak
                                                Krzysztof G. Sobczak, Esq.
